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Meyer, Ioana C (CIV)

From:                             Speth, Charles <Charles.Speth@wilmerhale.com>
Sent:                             Tuesday, October 29, 2024 3:16 PM
To:                               Meyer, Ioana C (CIV)
Cc:                               Gostin, Isley; Tuttle Newman, Jake; Bertoni, Daniel (CIV); Adair, Thomas (CIV)
Subject:                          [EXTERNAL] RE: Deposition Scheduling


Hi Ioana,

Thank you for your emails. We are still working to get dates for the URS witnesses and hope to provide you some
proposals this week.

Given the schedule change, we would like to depose Bauer and Franklin in Dayton either the weeks of January 13
or 20. We would like to depose Feinberg and Davis the weeks of February 3 or February 10. Can you please let us
know their availability during those periods? Also, you had previously indicated that Mr. Giardina was only
available in December the week before Christmas. It sounds like his availability has changed and he is now only
available in December from December 1-10? If so, would Thursday December 5 work for his deposition? Please
let us know whether New York City works as a location in the event we proceed in-person.

We’d also like to note that we expect to do some amount of direct examination of any URS witness that is
deposed, including Mr. Blunt, Ms. Hamilton, and Mr. Lowe, and we plan to continue those depositions to a second
day to the extent such examination is not concluded on the ﬁrst day. We also wanted to note that, if the
government elects to proceed remotely for a deposition, counsel for URS may nonetheless choose to attend in
person, with the understanding that the standard rules with respect to limitations on witness communications
during depositions apply. We, of course, have a reciprocal expectation if we elect to proceed virtually and you
elect to attend a deposition in person. As to your question regarding our representation of former URS witnesses,
we represent numerous former employees in this matter. If there are former employees about which you have a
question, please let us know.

Best,
Charlie



From: Meyer, Ioana C (CIV) <Ioana.C.Meyer@usdoj.gov>
Sent: Monday, October 28, 2024 3:22 PM
To: Speth, Charles <Charles.Speth@wilmerhale.com>
Cc: Gostin, Isley <Isley.Gostin@wilmerhale.com>; Tuttle Newman, Jake <Jacob.TuttleNewman@wilmerhale.com>;
Bertoni, Daniel (CIV) <Daniel.Bertoni@usdoj.gov>; Adair, Thomas (CIV) <Thomas.Adair@usdoj.gov>
Subject: Deposition Scheduling

EXTERNAL SENDER


Hi Charlie,

I’m checking in on scheduling the addi onal deposi ons. It looks like we’re s ll wai ng on proposed dates for the
following witnesses:
      Arthur Desrosiers

                                                             1
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         Kevin Collins
         Michael Gavin
         Dan Macias
         Keith Stone
         AECOM 30(b)(6)

We also proposed some dates for the following witnesses, have you had a chance to determine whether these dates
would work?
    Wendy Bauer
           o Week of November 18
    Derrick Franklin
           o Week of November 18
    Hugh Davis
           o December 17
    Steve Feinberg
           o December 12
    Paul Giardina
           o Between Dec 1-10, or star ng in January

We are working on ge ng you dates for the EPA and KAPL 30(b)(6) – although I believe we are s ll wai ng on the KAPL
30(b)(6) no ce.

Thanks,

Ioana C. Meyer

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